    Case 9:22-cv-81037-AMC Document 18 Entered on FLSD Docket 10/21/2022 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

                                                                   )
                                                                   )
MARK KRIEGER                                                       )
                                                                   )
                                                                   )
          Plaintiff(s)                                             )
                                                                             Civil Action No. 9:22-cv-81037-XXXX
               v.                                                  )
                                                                   )
                                                                   )
                                                                   )
TD BANK, N.A., a National Banking Association
                                                                   )
            Defendant(s)                                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       EQUIFAX INFORMATION SERVICES, LLC
                                       c/o Corporation Service Company, RA
                                       1201 Hays Street
                                       Tallahassee, FL 32301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                      David H. Haft, Esq.
                                      David H. Haft, P.A.
                                      1526 Cardinal Way, Suite A
                                      Weston, Florida 33327
                                      Tel: (954) 459-1358
                                      Attorneys for Plaintiff Mark Krieger

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:      Oct 21, 2022
                                                                                          Signature of Clerk or
                                                                                                             s/ Deputy Clerk
                                                                                                                Mary Etienne
    Case 9:22-cv-81037-AMC Document 18 Entered on FLSD Docket 10/21/2022 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

                                                                   )
                                                                   )
MARK KRIEGER                                                       )
                                                                   )
                                                                   )
          Plaintiff(s)                                             )
                                                                             Civil Action No. 9:22-cv-81037-XXXX
               v.                                                  )
                                                                   )
                                                                   )
                                                                   )
TD BANK, N.A., a National Banking Association
                                                                   )
            Defendant(s)                                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Experian Information Services, Inc.
                                       c/o CT Corporation System, RA
                                       1200 South Pine Island Road
                                       Plantation, FL 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                      David H. Haft, Esq.
                                      David H. Haft, P.A.
                                      1526 Cardinal Way, Suite A
                                      Weston, Florida 33327
                                      Tel: (954) 459-1358
                                      Attorneys for Plaintiff Mark Krieger

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:      Oct 21, 2022
                                                                                          Signature of Clerk or
                                                                                                             s/ Deputy Clerk
                                                                                                                Mary Etienne
    Case 9:22-cv-81037-AMC Document 18 Entered on FLSD Docket 10/21/2022 Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

                                                                   )
                                                                   )
MARK KRIEGER                                                       )
                                                                   )
                                                                   )
          Plaintiff(s)                                             )
                                                                             Civil Action No. 9:22-cv-81037-XXXX
               v.                                                  )
                                                                   )
                                                                   )
                                                                   )
TD BANK, N.A., a National Banking Association
                                                                   )
            Defendant(s)                                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       TransUnion, LLC
                                       c/o Corporation Service Company, RA
                                       1201 Hays Street
                                       Tallahassee, FL 32301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                      David H. Haft, Esq.
                                      David H. Haft, P.A.
                                      1526 Cardinal Way, Suite A
                                      Weston, Florida 33327
                                      Tel: (954) 459-1358
                                      Attorneys for Plaintiff Mark Krieger

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:      Oct 21, 2022
                                                                                          Signature of Clerk or
                                                                                                             s/ Deputy Clerk
                                                                                                                Mary Etienne
